            Case 2:20-mj-00005-REB Document 3 Filed 01/07/20 Page 1 of 3



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                               UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                    Case No. 2:20-mj-00005-REB
                  Plaintiff,
           vs.                                      MOTION FOR DETENTION ON
                                                    SUPERVISED RELEASE
 RODNEY GAYLIN TATE,

                  Defendant.



          The United States, by and through Bart M. Davis, United States Attorney for the District

of Idaho, and the undersigned Assistant United States Attorney, moves the Court, pursuant to

Federal Rules of Criminal Procedure 32.1(a)(6) and 46(d), and 18 U.S.C. ' 3143(a), for an order

directing that the defendant, Rodney Gaylin Tate, be detained pending a preliminary hearing

and/or a revocation hearing regarding the alleged violations of the terms and conditions of his

probation or supervised release contained in the petition filed by the United States Probation

Office.

          A person arrested for violating probation or supervised release may be released or

detained under 18 U.S.C. ' 3143(a) pending further proceedings. Fed R. Crim. P. 32.1(a)(6).

Section 3143(a) provides that the judicial officer shall order that the person be detained, “unless



MOTION FOR DETENTION ON SUPERVISED RELEASE - 1
          Case 2:20-mj-00005-REB Document 3 Filed 01/07/20 Page 2 of 3



the judicial officer finds by clear and convincing evidence that the person is not likely to flee or

pose a danger to the safety of any other person or the community” if released. 18 U.S.C.

' 3143(a). “The burden of establishing by clear and convincing evidence that the person will

not flee or pose a danger to any other person or to the community rests with the person.” Fed.

R. Crim. P. 32.1(a)(6).

       WHEREFORE, the government requests that the Court enter an order detaining the

defendant pending a preliminary and/or a revocation hearing.

       Respectfully submitted this 7th day of January, 2020.

                                                   BART M. DAVIS
                                                   UNITED STATES ATTORNEY
                                                   By:


                                                   s/ Bryce B. Ellsworth
                                                   BRYCE B. ELLSWORTH
                                                   Assistant United States Attorney




MOTION FOR DETENTION ON SUPERVISED RELEASE - 2
         Case 2:20-mj-00005-REB Document 3 Filed 01/07/20 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 7, 2020, the foregoing MOTION FOR

DETENTION ON SUPERVISED RELEASE was electronically filed with the Clerk of the

Court using the CM/ECF system, and that a copy was served on the following parties or counsel

by:

 North Federal Defender                            ECF filing




                                                        s/ McKenzie Moore
                                                        Legal Assistant




MOTION FOR DETENTION ON SUPERVISED RELEASE - 3
